                    Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 1 of 7


                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 23-62-BLG-SPW-l
 JAROD VAHRE MILLAR                                                        USM Number: 60365-510
                                                                           Juli M. Fierce
                                                                           Defendant's Attorney



THE DEFENDANT:
       pleaded guilty to count(s)                        Is
       pleaded nolo contendere to count(s) which
 □
       was accepted by the court
       was found guilty on count(s) after a plea of
 □
       not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 21 U.S.C. § 841(a)(1) Possession With intent To Distribute Methamphetamine                       12/07/2022      Is




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 lEI   The original indictment Kl is   □ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
 material changes in economic circumstances.


                                                              January 12.2024
                                                              Date of Imposition of Judgment




                                                                             C--.
                                                              jignature of Judge

                                                              Susan P. Watters
                                                              United States District Judge
                                                              Name and Title of Judge

                                                              January 12,2024
                                                              bate
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 2 of 7
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 3 of 7
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 4 of 7
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 5 of 7
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 6 of 7
Case 1:23-cr-00062-SPW Document 42 Filed 01/12/24 Page 7 of 7
